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                           UNITED STATES DISTRICT COURT

                          CENTRAL DISTRICT OF CALIFORNIA

                                   WESTERN DIVISION



         THE HONORABLE STEPHEN V. WILSON, DISTRICT JUDGE PRESIDING


        FAIZ NUR,                           )
                                            )
                    Plaintiff,              )
                                            )
            vs.                             )      No. CV 15-94-SVW
                                       )
        THE TATITLEK CORPORATION, INC.,)
        et al.,                        )
                                       )
                  Defendants.          )
        _______________________________)




                      REPORTER'S TRANSCRIPT OF PROCEEDINGS

                              LOS ANGELES, CALIFORNIA

                             MONDAY, DECEMBER 7, 2015




        _____________________________________________________________

                          DEBORAH K. GACKLE, CSR, RPR
                            United States Courthouse
                       312 North Spring Street, Room 402A
                         Los Angeles, California 90012
                                 (213) 620-1149


           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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    1   APPEARANCES OF COUNSEL:

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    4         For the Plaintiff:

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    6               Trey Dayes
                    Phillips Dayes National Employment Law Firm PC
    7               3101 North Central Avenue Suite 1100
                    Phoenix, AZ 85012
    8               602-288-1610
                    Fax: 602-288-1644
    9               Email: treyd@phillipsdayeslaw.com

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  13          For the Defendant:

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  15                John R Giovannone
                    Seyfarth Shaw LLP
  16                333 South Hope Street Suite 3900
                    Los Angeles, CA 90071-1406
  17                213-270-9600
                    Fax: 213-270-9601
  18                Email: jgiovannone@seyfarth.com

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           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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    1   LOS ANGELES, CALIFORNIA; MONDAY, DECEMBER 7, 2015; 3:40 P.M.

    2                                 - - - - -

    3

    4               THE CLERK:    Item 7, CV 15-94-SVW, Fiez Nur, et al

    5   versus Tatitlek corporation.

    6               Counsel, please state your appearances.

    7               MR. DAYES:    Good afternoon.     Trey Dayes appearing on

    8   behalf of plaintiffs.

    9               MR. GIOVANNONE:       Good afternoon.   John Giovannone on

  10    behalf of Tatitlek Support Services, Inc. and GeoNorth.

  11                THE COURT:    Okay.

  12                This matter is before the court because the parties

  13    requested a deferral of the ruling on the pending summary

  14    judgment motions.     Because the parties may engage in mediation.

  15    I'm not of the mind to delay decisions on a hope, a wish and a

  16    prayer.    So where are we here?

  17                MR. GIOVANNONE:       Thank you, Your Honor.

  18                On Thursday of last week, we actually filed a notice

  19    with the court -- that I'm not sure if it made its way to your

  20    desk -- that we actually have scheduled a mediation for

  21    February 5th --

  22                THE COURT:    I see.

  23                MR. GIOVANNONE:       -- with David Rotman, very

  24    experienced wage and hourly mediator.

  25                MR. DAYES:    That's correct, Your Honor.


           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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    1               THE COURT:    And you've asked me not to show my hand

    2   in any way so I won't, but there are serious issues, without

    3   making any indication involved, and I haven't reached a firm

    4   conclusion, although prior to being informed of this mediation,

    5   naturally the court was looking into the issues.

    6               So you both strike me as being experienced lawyers

    7   who undoubtedly know their case a lot better than I do at this

    8   point.

    9               Without making any commitment, which you can't, but

  10    what are the prospects?

  11                MR. DAYES:    Your Honor, I believe the prospects are

  12    good of obtaining a settlement.       Obviously we can't make a

  13    promise, but we came together rather quickly, and we feel

  14    really good about the mediator; he seems very experienced.

  15                THE COURT:    I don't know him.     First I thought it was

  16    a retired superior court judge in Santa Monica that I knew many

  17    years ago, David Rothman, but this is David Rotman,

  18    R-o-t-m-a-n.

  19                MR. DAYES:    That's correct, Your Honor.

  20                THE COURT:    And is he a retired judge, or is he a

  21    lawyer specializing in this area?

  22                MR. GIOVANNONE:    If I may, Your Honor, he is a lawyer

  23    specializing in this particular area and, in fact, has been

  24    doing it longer than I had been in the practice of law.

  25                THE COURT:    And he still practices, or is he


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    1   exclusively a mediator now?

    2               MR. GIOVANNONE:       Exclusively a mediator.

    3               THE COURT:    I see.     And is he part of any of these

    4   groups, or is he just on his own?

    5               MR. GIOVANNONE:       He is in a three-person partnership

    6   that does exclusively mediation services.          Each of his two

    7   partners has a different area of specialty.          He is their wage

    8   and hour guru.     He's about as well respected as you can be in

    9   the area.

  10                THE COURT:    Do you agree with that?

  11                MR. DAYES:    I do, Your Honor.

  12                THE COURT:    Yeah.

  13                And the mediation is February 5th.          Well, that means

  14    that there is also a motion for class certification in January.

  15                Do you want me to put that off, too, until the

  16    mediation is resolved?

  17                MR. GIOVANNONE:       I believe you have.     There was a

  18    stipulation to take the hearing off.

  19                THE COURT:    I see.     All right.   Here's what I'll do.

  20    February 5th is what day of the week?

  21                MR. GIOVANNONE:       That is a Friday, Your Honor.

  22                THE COURT:    Then I'll schedule a further status

  23    conference not the following Monday but the Monday after that.

  24                THE CLERK:    The 16th?

  25                THE COURT:    Let's say at 11:45.


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    1               So if we have a jury trial ...

    2               THE CLERK:    11:45.   Further status conference will be

    3   February 16th at 11:45.

    4               THE COURT:    I hope you have success.

    5               MR. GIOVANNONE:    Thank you, Your Honor.

    6               MR. DAYES:    Thank you, Your Honor.

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    8                 (Proceedings concluded at 3:50 p.m.)

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           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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    1                          C E R T I F I C A T E

    2

    3               I hereby certify that pursuant to Section 753,

    4   Title 18, United States Code, the foregoing is a true and

    5   correct transcript of the stenographically reported proceedings

    6   held in the above-entitled matter and that the transcript page

    7   format is in conformance with the regulations of the Judicial

    8   Conference of the United States.

    9

  10       Date:   December 21, 2015

  11

  12                          /S/______________________

  13                                 Deborah K. Gackle
                                         CSR No. 7106
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           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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 MR. GIOVANNONE: [9]        about [2] 4/14 5/8       correct [3]
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